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James M. McDonald (admitted pro hac vice)
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Attorney for Defendant Catherine Coley

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ARIZONA

Ryan Cox, individually and on behalf       )          Case No.: 21-cv-08197-SMB
of all others similarly situated;          )
                                           )          NOTICE OF LIMITED SPECIAL
                         Plaintiff,        )          APPEARANCE
                                           )
                  v.                       )
                                           )
                                           )
CoinMarketCap OpCo, LLC; Binance           )
Capital Management Co., Ltd. d/b/a         )
Binance and Binance.com; BAM               )
Trading Services Inc. d/b/a                )
                                           )
Binance.US; Changpeng Zhao;                )
Catherine Coley; Yi He; Ted Lin; and       )
Does I-X;                                  )

                         Defendants.

              James M. McDonald, of the law firm Sullivan & Cromwell LLP, gives notice

of his special limited appearance in the above-captioned matter, as an attorney of record

for Defendant Catherine Coley. This special appearance is for the limited purpose of

moving to dismiss all claims against Ms. Coley, on the basis that Plaintiff has failed to

validly serve Ms. Coley with the summons and complaint in this matter. By entering this

special limited appearance, Ms. Coley does not waive any defenses in this matter, nor does

she accede to the jurisdiction of this Court.



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January 6, 2022


                                           /s/ James M. McDonald
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                                Certificate of Service

               I hereby certify that on January 6, 2022, I electronically submitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and
transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.



January 6, 2022


                                                /s/ James M. McDonald
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                                                Attorney for Defendant Catherine Coley




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